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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 EDDRELL SCOTT,                               )
                                              )
        Plaintiff,                            )
                                              )
                v.                            ) CAUSE NO. 1:20-cv-02366-JRS-DML
                                              )
 HINSHAW, et al,                              )
                                              )
        Defendants.                           )

                 DEFENDANT HINSHAWS RESPONSE IN OPPOSITION
                 TO PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT

        Defendant, Vedora Hinshaw, by counsel, Eric A. Pagnamenta, Deputy Attorney General,

 respectfully requests that the Court deny Plaintiff’s Motion for Default Judgment [ECF 39]

 because the Court granted Defendant Hinshaw’s motion for an extension of time to respond to

 Plaintiff’s Complaint until March 26, 2021. Defendant Hinshaw filed her Answer on March 26,

 2021, thereby complying with the Court’s order. Moreover, in response to Defendant’s exhaustion

 defense, the Court issued a partial stay of all deadlines and discovery of matters unrelated to

 exhaustion of administrative remedies. Thus, there are no grounds upon which Plaintiff may obtain

 a default against Defendant Hinshaw.

        Under Federal Rule of Civil Procedure 55, a default judgment may be entered against a

 party when that party “has failed to plead or otherwise defend”. Fed. R. Civ. P.

 55(a). Here, Defendant has not failed to plead or otherwise defend against Plaintiff’s controlling

 complaint, which was screened on January 11, 2021.

        This Circuit has a well-established policy favoring a trial on the merits over a default

 judgment. Sun v. Board of Trustees of University of Ill., 473 F.3d 799, 811 (7th Cir. 2007)

 (citing C.K.S. Eng'rs, Inc. v. White Mountain Gypsum Co., 726 F.2d 1202, 1205 (7th Cir.
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 1984)). For that reason, a default judgment should be used only in extreme situations, or when

 other less drastic sanctions have proven unavailing. Id. Defendant has not engaged in the sort of

 willful, bad faith conduct which is the usual precursor of dismissal. Tolliver v. Northrop Corp.,

 786 F.2d 316, 318 (7th Cir. 1986) (citing Societe Internationale v. Rogers, 357 U.S. 197, 212

 (1958)).

        Given that Defendant has neither failed to plead nor engaged in bad faith, the extreme

 remedy of default judgment against her is inappropriate. Accordingly, Plaintiff’s Motion for

 Default Judgment should be denied.

                                                     Respectfully submitted,

                                                     Theodore E. Rokita
                                                     Indiana Attorney General
                                                     Attorney number: 18857-49

                                             By:     Eric A. Pagnamenta
                                                     Deputy Attorney General
                                                     Attorney No. 36066-45
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 21, 2021, I electronically filed the foregoing with the Clerk

 of the Court using the CM/ECF system. I further certify that on April 21, 2021, a copy of the

 foregoing was mailed, by first-class U.S. Mail, postage prepaid, to the following non CM/ECF

 participant:

        Eddrell Scott
        DOC# 132122
        Pendleton Correctional Facility
        Inmate Mail/Parcels
        4490 West Reformatory Road
        Pendleton, IN 46064


                                                      Eric A. Pagnamenta
                                                      Deputy Attorney General

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